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                             EXHIBIT 5
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                     Case 1:20-cv-01814-JLT-EPG Document 111-5 Filed 12/16/22 Page 2 of 2
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